            Case:
ILND 450 (Rev.        1:16-cv-03371
               10/13) Judgment                Document #: 779 Filed: 06/27/25 Page 1 of 1 PageID #:24222
                               in a Civil Action


                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

    Sonrai Systems, LLC,

    Plaintiff(s),
                                                                  Case No. 1:16-cv-03371
    v.                                                            Judge Thomas M. Durkin

    Anthony M. Romano et al,

    Defendant(s).

                                            JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                in favor of plaintiff(s) Sonrai Systems, LLC
                and against defendant(s) Anthony M. Romano and The Heil Co.
                in the amount of $28,905,154 in damages; in the amount of $1 (as to Romano) and $30,000,000
(as to Heil) in punitive damages ,

                             which     includes       pre–judgment interest.
                                       does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

         tried by a jury with Judge Thomas M. Durkin presiding, and the jury has rendered a verdict.
         tried by Judge      without a jury and the above decision was reached.
         decided by Judge       on a motion



Date: 6/27/2025                                           Thomas G. Bruton, Clerk of Court

                                                          E. Wall, Deputy Clerk
